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The document below is hereby signed.

Signed: June 9, 2020




                                    ___________________________
                                    S. Martin Teel, Jr.
                                    United States Bankruptcy Judge




                         UNITED STATES BANKRUPTCY COURT
                          FOR THE DISTRICT OF COLUMBIA

     In re                                 )
                                           )
     PIERRE PHILIPPE BARKATS,              )      Case No. 14-00053
                                           )      (Chapter 7)
                     Debtor.               )
     ____________________________          )
                                           )
     WENDELL W. WEBSTER, TRUSTEE,          )
                                           )
                        Plaintiff,         )
                                           )
                  v.                       )      Adversary Proceeding No.
                                           )      18-10021
     RONDI WALKER, M.D., et al.,           )
                                           )      Not for publication in
                        Defendants.        )      West’s Bankruptcy Reporter.

                  MEMORANDUM DECISION AND ORDER REGARDING
          LIENS AGAINST RONDI WALKER’S SHARE OF THE SALE PROCEEDS

          This order assumes that the reader is familiar with the

     court’s prior Memorandum Decision and Order re Motions for

     Summary Judgment (“Summary Judgment Decision”) and the court’s

     Memorandum Decision Regarding Rondi Walker’s Motion to Reconsider

     (“Reconsideration Decision”).          Pursuant to the Reconsideration
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 Decision (agreeing with Walker that the court’s Summary Judgment

 Decision erred in calculating Walker’s share of the remaining

 sale proceeds), it appears that Walker’s interest in those

 proceeds will come close to equaling the entire amount of those

 proceeds.   Even if Walker’s share of the proceeds was responsible

 for paying all of the real estate taxes that Webster paid at

 closing, then as shown in the Reconsideration Decision at 30, it

 appears that based on the views this court has taken so far,

 Walker would recover $1,204,602.05 directly and $654,141.81 for

 paying off loans she had incurred, for a total of $1,858,743.86.1

 That sum is almost sufficient to satisfy the liens encumbering

 Walker’s interest in the proceeds of the sale.

                                         I

                     LIENS AGAINST WALKER’S INTEREST
                    IN THE PROPERTY AS OF JULY 2, 2020

      To summarize what follows, these are the amounts that it

 appears will be owed, at most, on the liens against Walker’s

 interest in the proceeds of the Property as of July 2, 2020

 (except for additional attorney’s fees that Democracy Capital and

 Atlantic Union might claim were incurred after, respectively, May

 15, 2020, and March 16, 2020):




      1
         The court’s order disposing of the Reconsideration
 Motion leaves open whether summary judgment would be appropriate
 with respect to the $654,141.81 and permits further briefing of
 various issues.

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       IRS 1040 2012                                            $187,380.10
       IRS 1040 2013                                            $185,593.15
       Democracy Capital                                        $885,766.11
       Atlantic Union (legal fees disputed)                     $231,692.65
       IRS 3d Q 2014 employment taxes                            $21,286.78
       District of Columbia (income taxes)                      $120,000.00
       Candela                                                   $86,759.76
       IRS 1040 2014                                             $21,636.12
       IRS 1040 2015                                             $37,251.36
       IRS 1040 2016                                             $11,070.04
       Direct Capital                                            $65,715.03
       IRS 1040 2017                                              $3,769.62
       IRS 2d Q 2014 employment taxes                            $14,763.46
       IRS 4th Q 2014 employment taxes                           $15,440.17
       IRS 1st Q 2017 employment taxes                               $73.56
       Total                                                  $1,887,485.38

 In other words, it appears that Walker’s share of at least

 $1,858,743.86 would probably suffice to fully pay all of the

 liens, if paid on July 2, 2020, except for the four IRS tax liens

 for which no notices of tax lien were filed.             However, additional

 attorney’s fees owed to Democracy Capital and Atlantic Union

 could result in other liens as well not being paid in full,

 particularly if an appeal is taken by Webster or the Ingram

 Group, substantially increasing the amounts owed to Democracy

 Capital and Atlantic Union by reason of attorney’s fees incurred

 on appeal.

      Liens on Walker’s Interest in the Property.              As to Walker’s

 interest in the Property, there are various liens against her

 interest in the Property, filed with the D.C. Recorder of Deeds,

 that were held by the Internal Revenue Service (“IRS”) and

 others.   The Summary Judgment Decision directed the IRS,

 Democracy Capital, and Atlantic Union to file payoff statements

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 to which other parties could object within a 17-day objection

 period.   Walker objected to the attorneys’ fees asserted in the

 payoff statements of Democracy Capital and Atlantic Union.                 The

 court has objected Walker’s objection to Democracy Capital’s

 attorney’s fees, and a hearing is set regarding Atlantic Union’s

 attorney’s fees.

      In light of the payoff statements filed, and other

 information in the record, these are the asserted liens against

 Walker’s interest in the proceeds of the sale:

            1.   IRS: tax lien filed on August 20, 2014 at 8:32

      a.m., for unpaid income taxes for the year 2012, standing at

      $186,613.77 as of June 2, 2020, and at $187,380.10 as of

      July 2, 2020;

            2.   IRS: tax lien filed on August 20, 2014, at 2:49

      p.m., for unpaid income taxes for the year 2013, standing at

      $184,834.13 as of June 2, 2020, and at $185,593.15 as of

      July 2, 2020;

            3.   Democracy Capital Corporation: Deed of Trust filed

      on August 20, 2014, at 3:29 p.m. securing a claim (the

      “Democracy Capital Loan”). for $885,766.11 as of July 2,




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      2020 (plus legal fees after May 15, 2020).2             Walker objected

      to the attorney fees asserted as part of this claim, but

      that objection has been overruled.

            4.   Atlantic Union Bank (successor to Access National

      Bank): Deed of Trust filed on October 10, 2014, securing a

      claim, originally for $150,000.00, standing at $231,692.653

      as of July 2, 2020, plus legal fees after March 16, 2020.

            5.   IRS: tax lien filed on July 21, 2015, for the



      2
          This amount consists of:

      Amount owed as of May 31, 2020, including
      legal fees billed through April 3, 2020
      per payoff statement (Dkt. No. 189)                      $876,741.31

      Interest at $107.95 per day after May 31,
      2020, to July 2, 2020                                      $3,454.40

      Attorney’s fees (billed and unbilled) owed
      for April 4, 2020 through May 15, 2020,
      established by Exhibit A (Dkt. No. 207)
      at trial of May 28, 2020                                   $5,570.40
      Total                                                    $885,766.11

 Legal fees after May 15, 2020 (including for the hearing of May
 28, 2020), are not included.
      3
          This consists of:

      Amount owed as of May 31, 2020 with legal
      fees incurred only through March 16, 2020                $230,533.29

      Interest at $36.23 per day after May 31,
      2020, to July 2, 2020                                      $1,159.36
      Total                                                    $231,692.65

 Walker has objected to the $62,816.46 of legal fees and expenses
 included in the $230,533.29 figure and claimed to be owed as of
 March 16, 2020.

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      unpaid employment taxes for the period ending September 30,

      2014, standing at $21,199.73 as of June 2, 2020, and

      $21,286.78 as of July 2, 2020.

            6.   District of Columbia: tax lien recorded on

      September 20, 2016, in the amount of $87,973.62 standing at

      $119,430.76 as of May 6, 2020, estimated to stand at no more

      than roughly $120,000.00 as of July 2, 2020.

            7.   Candela Corporation: Judgment filed on June 26,

      2017, for a judgment of entered by the Superior Court of the

      District of Columbia on September 16, 2016, standing at

      roughly $86,759.76 as of July 2, 2020.4

            7.   IRS: tax lien filed on June 29, 2017, for unpaid

      federal income taxes for the year 2014, standing at

      $21,547.64 as of June 2, 2020, and at $21,636.12 as of July

      2, 2020.

            8.   IRS: tax lien filed on November 9, 2018, for the



      4
         I say “roughly” $86,759.76 will be owed because I have
 not ascertained what the interest rate will be for July 1 and
 July 2, 2020. Underpayment rates per annum under 26 U.S.C. §
 6621(a)(2) were 4% for the period of April 1, 2016, to March 31,
 2018, and 5% or 6% for the period of April 1, 2018, to June 30,
 2020. In turn, based on those rates, the post-judgment interest
 rates under D.C. Code § 28–3302(c) for those periods were,
 respectively, 3% and 4%. Accordingly, the postjudgment interest
 on this judgment was at 3% from September 13, 2016, to March 31,
 2018, and then at 4% from April 1, 2018, to June 30, 2020. That
 results in $10,475.04 being the amount of interest that will have
 accrued on the judgment as of July 2, 2020 (assuming that
 interest remained at 4% for July 1 and July 2, 2020).


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      unpaid income taxes for the years 2015 and 2016, standing

      at, respectively, $37,099.01 and $11,024.76 as of June 2,

      2020, and $37,251.36 and $11,070.04 as of July 2, 2020.

            9.    Direct Capital Corporation: Judgment Order filed on

      August 6, 2019, for a judgment entered by the Superior Court

      on June 6, 2016, for which my calculations indicate that at

      most $65,715.03 will be owed as of July 2, 2020.5

            10.     IRS: tax liens for the following assessed taxes:6

      •     income taxes assessed for the year 2017 standing at



      5
          The judgment judgment entered on June 6, 2016, was:

      in the principal amount of $50,575.69 (which includes
      application of partial payments made by Defendants),
      plus (i) prejudgment interest from January 1, 2015
      through May 16, 2016 at the legal rate of 6% per annum
      in the amount of $738.76, (ii) post-judgment interest
      thereafter at the legal rate of 6% per annum until paid
      in full, and (iii) Plaintiffs reasonable attorney’s
      fees and costs as provided by § 15 of the Agreement in
      the amount of $1,500.00.

 Accordingly, the total judgment was for $52,814.45. Before it
 intervened, Direct Capital filed a motion for summary judgment in
 which it showed that with interest accruing on the $50,575.69 of
 principal, it was owed $63,938.33 as of February 5, 2020. With
 additional interest of $1,064.17 on the principal amount of
 $50,575.69, from February 5, 2020, to July 2, 2020, it will be
 owed $65,002.50 as of July 2, 2020.
      6
         The transcripts of account for these assessments indicate
 that the taxes were assessed, and demand was made on Walker in
 each instance, which gave rise to tax liens under 26 U.S.C.
 § 6321, but the transcripts of account do not indicate that any
 notice of tax lien was filed with the Recorder of Deeds for any
 of these tax liens. Under 26 U.S.C. § 6323, recorded judgment
 liens and mortgage liens would take priority over these tax
 liens.

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            $3,740.18 as of June 2, 2020, and $3,769.62 as of July

            2, 2020;

      •     Employment taxes for the period ending June 30, 2014,

            $14,703.09 as of June 2, 2020, and $14,763.46 as of

            July 2, 2020,

      •     Employment taxes for the period ending September 30,

            2014, standing at $21,199.73 as of June 2, 2020, and

            $21,286.78 as of July 2, 2020.

      •     Employment taxes for the period ending December 31,

            2014, standing at $15,377.02 as of June 2, 2020, and

            $15,440.17 as of July 2, 2020.

      •     Employment taxes for the period ending May 31, 2017,

            standing at $73.25 as of June 2, 2020, and $73.56 as of

            July 2, 2020.

      Priority of Liens.        There is a dispute between the IRS and

 Democracy Capital as to whether the first two IRS tax liens take

 priority over Democracy Capital’s lien.            However, that dispute

 should prove to be academic: based on the court’s current view of

 the case, there will be more than adequate funds to pay both the

 first two IRS liens and Democracy Capital’s lien.              Otherwise, it

 appears that the liens filed with the Recorder of Deeds will take

 priority based on the order in which they were filed, with each

 lien taking priority over any later-filed lien.              The parties

 ought to come to an agreement in that regard.



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                                        II

          FURTHER BRIEFING AND FILING OF PAYOFF STATEMENTS

      With interest accruing on the various liens,7 and with

 additional attorneys’ fees being incurred by Democracy Capital

 and Atlantic Union if the litigation drags on, the amount that

 will flow to junior lienors diminishes with the passage of time.

 The sooner the court enters a final judgment directing

 distributions to senior lienholders, the more that will be

 available to pay junior lienors.

      The court does not have an adequate record of what is owed

 on each lien, and the parties have not addressed the priority of

 the liens against Walker’s interest in the sale proceeds.                No

 distributions can be made until those issues are resolved.                 It

 thus behooves the parties to establish what is owed on each lien

 and to attempt to stipulate to the priorities of the liens.

      Although Webster or the Ingram Group might seek a stay

 pending appeal, that would likely require the posting of a bond.

 Additional attorney’s fees that Democracy Capital or Atlantic

 Union might incur on appeal, and additional interest accruing on

 senior liens would have to be paid from the sale proceeds after

 an unsuccessful appeal by Webster or the Ingram Group.               That

 would reduce what is available for junior lienors and result in

 damage to some junior lienholder or junior lienholders down the

      7
         Webster may be earning interest on the sale proceeds, but
 the various liens may be accruing interest at a higher rate.

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 food chain unless a bond were available to cover such damage.

      The various lienholders need to start thinking about what

 will happen if no bond is posted pending appeal, but an appeal is

 nevertheless pursued by Webster or the Ingram Group.            It might be

 appropriate to either stay distributions on junior liens in order

 that sufficient funds will be available to pay whatever

 additional attorney’s fees are incurred by Democracy Capital and

 Atlantic Union pending appeal (and to which they prove to be

 entitled after disposition of the appeal) or to require such

 junior lienholders to provide collateral for payment of such

 attorney’s fees or other adequate assurance that they will cough

 up any distributions they receive in order to assure payment of

 those attorney’s fees.      If an appeal is pursued, Democracy

 Capital and Atlantic Union could set forth their worst-case

 projections of attorney’s fees that would be incurred on appeal.

 The various lienors against Walker’s interest in the sale

 proceeds could then attempt to come to an agreement regarding an

 arrangement to protect Democracy Capital and Atlantic Union in




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 that regard should the appeal be unsuccessful.8          My suggestion is

 that a distribution order could stay certain distributions to

 some junior lienors pending the time for an appeal to expire, and

 could further provide that if an appeal is pursued, those

 distributions to such junior lienors would be stayed pending a

 determination of steps required to assure that Democracy Capital

 and Atlantic Union will recover their attorney’s fees incurred on

 appeal.

                                     III

      It is thus

      ORDERED that by June 24, 2020, the holders of each lien

 against Walker’s interest in the sale proceeds shall file:

            (a) a payoff statement showing the amount owed on the

      lien, together with a per diem interest amount; and

            (b) a statement regarding which liens take priority of

      the lienholder’s lien and which liens are junior in priority


      8
         If Webster and the Ingram Group prevail on appeal and
 Walker is entitled to only 50% of the net proceeds of the sale,
 then Democracy Capital’s lien would exceed that 50% share. The
 priority dispute between the IRS and Democracy Capital would no
 longer be academic. However, if Democracy Capital is entitled to
 priority, Democracy Capital’s lien would exceed Walker’s 50%
 share, and it will have already received more than that 50%
 share. The IRS would be required to disgorge to the bankruptcy
 estate any distribution it had received. There is no reason, as
 between the IRS and Democracy Capital, to stay the distributions
 on the IRS’s first two liens and Democracy Capital’s lien
 pursuant to any final order directing distribution pursuant to
 this court’s preliminary view in the Reconsideration Decision
 concerning the respective shares of Walker and Barkats in the
 sale proceeds.

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      to the lienholder’s lien.

 It is further

      ORDERED that by July 8, 2020, other parties may file

 objections to:

            (a) the amounts claimed by any lienor’s payoff

      statement (but Rondi Walker need not renew her objection to

      those attorney’s fees of Democracy Capital that have already

      been adjudicated or her objection to the attorney’s fees of

      Atlantic Union that are the subject of the hearing set for

      June 25, 2020); and

            (b) to the priority each lienor asserts for its lien.

 It is further

      ORDERED that the various holders of liens against Walker’s

 interest in the sale proceeds shall confer regarding appropriate

 provisions in a distribution order to assure that if there is an

 appeal by Webster or the Ingram Group and no bond is posted by

 Webster or the Ingram Group, and distributions are not stayed in

 toto, then Democracy Capital and Atlantic Union are assured that

 they will receive payment of their reasonable attorney’s fees

 incurred on appeal if the appeal is unsuccessful.           It is further

      ORDERED that as part of the scheduling conference set for

 June 25, 2020, at 1:30 p.m. on other issues, the court will

 address setting a schedule to address issues regarding the

 amounts owed on liens on Walker’s interest in the sale proceeds


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 and the priorities of those liens, and the issue of a possible

 hold-back if there is an appeal by Webster or the Ingram Group.

                                                                                                                               [Signed and dated above.]

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 Trustee.




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